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                                          13
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                        SUITE 850




                                          14 McLaren Insurance Solutions, LLC, and Maxim
                                             Health, Inc.
                                          15                         UNITED STATES DISTRICT COURT
                                          16                   CENTRAL DISTRICT OF CALIFORNIA
                                          17
                                             MCLAREN INSURANCE
                                          18 SOLUTIONS, LLC, a California limited Case No. 2:21-cv-06066-MWF(AFM)
                                             liability company, and MAXIM
                                          19 HEALTH, INC., a California corporation, FIRST AMENDED COMPLAINT
                                          20                                         FOR:
                                                           Plaintiffs,
                                                                                      (1) FALSE ADVERTISING UNDER
                                          21         v.                                   THE LANHAM ACT SECTION
                                          22 ABS HEALTHCARE SERVICES, LLC,                43(A); AND
                                             a Florida limited liability company,     (2) UNFAIR COMPETITION
                                          23 HEALTH OPTION ONE, LLC, a Florida            (CALIF. BUS. & PROF. CODE §
                                             limited liability company, MY AGENT          17200).
                                          24 SOLUTION, LLC, a Florida limited
                                             liability company, and DOES 1 through
                                          25 20, inclusive,                           DEMAND FOR JURY TRIAL
                                          26
                                                        Defendants.
                                          27
                                          28
                                                                                1
                                                                    FIRST AMENDED COMPLAINT
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                                           1        Plaintiffs McLaren Insurance Solutions LLC (“McLaren”) and Maxim Health,
                                           2 Inc. (“Maxim”) (collectively, “Plaintiffs”), for their Complaint against defendants
                                           3 ABS Healthcare Services, LLC (“ABS”), Health Option One, LLC (“HOO”), and My
                                           4 Agent Solutions, LLC (“MAS”) (collectively, ABS, HOO, and MAS will be referred
                                           5 to as “ICD”), and Does 1 through 20, inclusive, (collectively, “Defendants”), allege
                                           6 as follows:
                                           7                                   INTRODUCTION
                                           8        1.     This dispute involves a malicious scheme by Defendants to
                                           9 surreptitiously prey on the most vulnerable citizens of California and other states—
                                          10 those who do not have access to affordable employer-sponsored health insurance
                                          11 plans because they have lost their jobs, are unemployed or self-employed, or have lost
                                          12 their group or individual health insurance.
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                                          13        2.     Defendants’ scheme, masterminded by Seth Cohen, Rob Hodes, and
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                                          14 Luis Silvestre, involves operating websites under unregistered fictitious names, such
                                          15 as “Affordable Healthcare of California,” in which Defendants falsely associate
                                          16 themselves with well-known providers of health insurance such as Blue Cross and
                                          17 Blue Shield and Kaiser Permanente through the use of counterfeit marks, and falsely
                                          18 represent that the non-existent entity (which is really ICD or other Defendants
                                          19 operating under an unregistered fictitious and deceptive name) will help the unwary
                                          20 consumers find the “best Health Coverage at the lowest price.” Some of Defendants’
                                          21 websites then falsely claim to have information updated as of the date the user
                                          22 accessed Defendants’ website, and then, regardless of the day, time, or region, purport
                                          23 to claim that Defendants have “Located 50+ Health Plans and Discounts Near You”,
                                          24 including “17 Obamacare Plans”, “4 HMO Plans”, and “5 PPO Plans, “11 Bronze
                                          25 Plans”, “13 Silver Plans”, and “8 Gold Plans.”
                                          26        3.     In order to obtain quotes, however, regarding these purported “health
                                          27 plans”, the unwary consumer is required to enter personal information, including a
                                          28 phone number and email. If a consumer provides a telephone number, Defendants
                                                                                  2
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                                           1 will immediately provide that phone number to one of several call centers under
                                           2 Defendants’ direction and control that Defendants require to exclusively sell the
                                           3 limited benefit indemnity plans that Defendants allow these call centers to sell.
                                           4       4.      None of these plans sold by Defendants or their agents, however, are
                                           5 comprehensive insurance plans as implied by the names “Obamacare Plans,” “HMO
                                           6 Plans”, “PPO Plans,” “Bronze Plans,” “Silver Plans”, “Gold Plans”, etc. as promised
                                           7 on their website.1 Rather, at best, these call centers under Defendants’ control are
                                           8 only permitted to offer limited benefit indemnity plans to consumers.
                                           9       5.      Moreover, Defendants use coercive and strong-arm tactics to ensure that
                                          10 their call centers are unable to offer comprehensive insurance plans to consumers.
                                          11 Defendants do this because while they are able to earn huge margins on the limited
                                          12 benefit indemnity plans that are not subject to the Affordable Care Act’s 80/20 Rule,
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                                          13 Defendants’ margins on comprehensive insurance plans are much smaller.
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                                          14       6.      At best this is a deceptive “bait-and-switch” tactic, but more likely,
                                          15 Defendants are hoping that consumers will purchase these limited benefit indemnity
                                          16 plans believing that they are either actually purchasing comprehensive health
                                          17 insurance or at least purchasing insurance from one of the well-known health insurers
                                          18 whose counterfeit marks appear on Defendants’ websites.           These unsuspecting
                                          19 customers only realize the extent of Defendants’ deception when it is too late—that
                                          20 is, after they actually need health care and are stuck with enormous bills not covered
                                          21 by the limited benefit plans sold by Defendants. The Defendants’ scheme coerced
                                          22 these unsuspecting consumers into a limited benefit plan solely to pad the Defendants’
                                          23 pockets on the backs of unsuspecting victims.
                                          24       7.      In furtherance, of this scheme, while marketing itself as one of the
                                          25 “largest health and life insurance agencies in the country,” ICD has engaged in the
                                          26
                                          27  Section 1302 of the Patient Protection and Affordable Care Act (42 U.S. Code §
                                               1

                                             18022) defines four “metal” categories for Essential Health Benefits packaged based
                                          28 on the level of coverage. See also https://www.healthcare.gov/choose-a-plan/plans-
                                             categories/ (“The 'metal' categories: Bronze, Silver, Gold & Platinum”).
                                                                                       3
                                                                        FIRST AMENDED COMPLAINT
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                                           1 unlawful practice of conducting the business of insurance without a licensed agent in
                                           2 charge designed by and providing services to the agencies at all times as required by,
                                           3 inter alia, section 626.0428(f), Florida Statutes.
                                           4        8.     Specifically, ICD has deceptively designated Seth Cohen’s father,
                                           5 Arnold Cohen, as the Agent in Charge even though Arnold Cohen admittedly provides
                                           6 no services to the agencies. In fact, when Arnold Cohen was asked under oath what
                                           7 services he provides to ICD, Arnold Cohen testified:
                                           8        “Figurehead, [like the] Queen of England.”
                                           9 When Arnold Cohen was asked if there was “anything you do other than act as a
                                          10 figurehead for Insurance Care Direct”, Arnold Cohen testified:
                                          11        “I sign checks or whatever else they give me to sign. . . . Most of the
                                                    time I don’t read it. I Don’t care.”
                                          12
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                                          13 Arnold Cohen testified that ICD sells insurance, but he had no knowledge of what
                        SUITE 850




                                          14 type of health insurance ICD sells.
                                          15        9.     When Arnold Cohen was asked under oath whether he was the agent in
                                          16 charge for Insurance Care Direct, he testified that he was “not sure.” Arnold Cohen
                                          17 also testified that he did not remember if he had ever given anyone authorization to
                                          18 list him as the agent in charge for ICD.
                                          19        10.    Similarly, Arnold Cohen testified that he did not know if he was licensed
                                          20 to sell insurance in California even though both ABS and HOO list Arnold Cohen as
                                          21 their sole endorsed agent in California.
                                          22        11.    As such, it is evident that Arnold Cohen, despite being listed as ICD’s
                                          23 agent in charge, is not, and has not for many years, been providing any services to
                                          24 ICD. Rather, Arnold Cohen’s son, Seth Cohen, is using his father’s name to escape
                                          25 liability should insurance regulators ever investigate ICD’s deceptive trade practices.
                                          26        12.    In October 2018, the Federal Trade Commission filed a complaint in
                                          27 federal court against Simple Health Plans LLC, Steven J. Dorfman, and five other
                                          28 entities, alleging that they were operating a similar deceptive enterprise to that which
                                                                                        4
                                                                         FIRST AMENDED COMPLAINT
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                                           1 Defendants were also then operating and continue to operate to date.
                                           2       13.     In response to the FTC’s action against Simple Health, Defendants,
                                           3 rather than changing its ways, sought to insulate itself from both federal and state
                                           4 regulators by hiring former politicians to give the false appearance that ICD was a
                                           5 legitimate insurance agency, when in fact, ICD’s entire business is premised on
                                           6 misleading and deceiving unsuspecting consumers.
                                           7       14.     By way of example, shortly after the FTC filed its complaint against
                                           8 Simple Health, ICD hired former United States Senator and Governor of Nebraska E.
                                           9 Benjamin Nelson to act as its Chief Executive Officer. Senator Nelson was supposed
                                          10 to succeed Seth Cohen as the CEO of ICD.
                                          11       15.     In reality, however, Senator Nelson, like ICD’s putative “agent in
                                          12 charge” Arnold Cohen, is only a figurehead as Seth Cohen and co-conspirators Rob
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                                          13 Hodes and Luis Silvestre, continue to control every aspect of ICD’s business,
                        SUITE 850




                                          14 including ICD’s false advertising and deceptive trade practices.
                                          15       16.     Worse yet, Senator Nelson, falsely claimed in a press release that he was
                                          16 “committed to ensuring [ICD] operate[s] at the highest level of integrity and ethics”.
                                          17 Either Senator Nelson is unaware of ICD’s operations because he was hired only to
                                          18 be a figurehead and to deceive state and federal regulators into believing ICD would
                                          19 not engage in these deceptive practices, or Senator Nelson is aware of ICD’s predatory
                                          20 conduct and has been helping ICD avoid state and federal regulators.
                                          21       17.     Similarly, if Senator Nelson were truly “committed” to “integrity and
                                          22 ethics”, Senator Nelson would not allow ICD to engage in the unlawful practice of
                                          23 allowing Arnold Cohen to remain as ICD’s Agent in Charge when Senator Nelson
                                          24 knew that Arnold Cohen was not providing any services to ICD.
                                          25       18.     Similarly, at around the same time, ICD hired John Doak, former
                                          26 Oklahoma Insurance Commissioner, as Executive Vice President of Regulatory
                                          27 Affairs, and shortly thereafter promoted him to Chief Operating Officer.
                                          28 ///
                                                                                        5
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                                           1        19.    In a press release announcing the promotion of Mr. Doak to COO along
                                           2 with the hiring of Christa Rapoport as General Counsel and Chief Compliance
                                           3 Officer, Seth Cohen, then purportedly a “Co-Chair of ICD”, claimed that ICD
                                           4 “continue[s] to invest in talent, technology, and our risk and compliance management
                                           5 infrastructure to protect consumers and ensure compliance with all regulatory
                                           6 requirements. The hiring of Christa as well as Ben, and promoting John, demonstrates
                                           7 our commitment to operating our business at the highest possible legal, ethical, and
                                           8 operational standards to help us remain best-in-class in our industry.” This statement
                                           9 was made in furtherance of Defendants’ scheme to deceive the public with their bait-
                                          10 and-switch tactics as ICD’s product offering is anything but “best-in-class” in the
                                          11 health insurance industry.
                                          12        20.    If these board members and executives did not know about the blatant
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                                          13 deception that is taking place on Defendants’ health-exchange.com website, before
                        SUITE 850




                                          14 they certainly have notice of what was happening under their watch as of the filing of
                                          15 this lawsuit. As such, if Defendants do not immediately remove all of these false and
                                          16 deceptive websites, it will be evident that the John Doak, Christa Rapoport, and
                                          17 Senator Nelson are active participants in Defendants’ scheme.
                                          18        21.    Yet, despite these representations by Mr. Cohen that ICD was committed
                                          19 to protective consumers and operating “its business at the highest possible legal [and]
                                          20 ethical . . . standards”, ICD only doubled-down on its efforts to prey on defenseless
                                          21 consumers using unregistered fictitious names and unlawful websites.
                                          22        22.    Similarly, if Mr. Doak and Ms. Rapoport were truly hired to “ensure
                                          23 compliance with all regulatory requirements”, Mr. Doak and Ms. Rapoport would not
                                          24 have permitted ICD to engage in the unlawful practice of allowing Arnold Cohen to
                                          25 remain as ICD’s Agent in Charge when Mr. Doak and Ms. Rapoport knew that
                                          26 Arnold Cohen was not providing any services to ICD.
                                          27        23.    Plaintiffs compete with ICD and the other Defendants for customers.
                                          28 McLaren was formed as a California limited liability company in April 2020. On July
                                                                                     6
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                                           1 2, 2020, the California Department of Insurance issued a license to McLaren
                                           2 authorizing McLaren to transact business as a Resident Insurance Producer, Accident
                                           3 and Health Agent. Since the time of obtaining its Resident Insurance Producer
                                           4 License through and including the present, McLaren has been engaged in the business
                                           5 of marketing and promoting both comprehensive health insurance and limited benefit
                                           6 plans, also known as limited benefit indemnity plans and hospital indemnity plans,
                                           7 and medical discount and wellness program memberships to uninsured and
                                           8 underinsured consumers in California and throughout the United States. Like ICD,
                                           9 McLaren primarily solicits potential customers through direct telephone
                                          10 communications. McLaren primarily identifies potential customers who are seeking
                                          11 health insurance based on either contact information those individuals have provided
                                          12 online, or by answering calls from individuals who are responding to information they
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                                          13 have seen online or in other forms of advertising.
                        SUITE 850




                                          14        24.    As a result of Defendants’ false advertising and unfair competition,
                                          15 Plaintiffs have lost customers and potential customers who were deceived by
                                          16 Defendants’ deceptive trade practices.
                                          17        25.    Accordingly, Plaintiffs seek redress for Defendants’ deliberate and
                                          18 unlawful false and misleading representations regarding the insurance plans that
                                          19 Defendants offer, including but not limited to the Defendants’ profits earned from this
                                          20 unlawful and deceptive scheme. Plaintiffs also seek redress for the unfair, unlawful
                                          21 and deceptive business practices of Defendants in California and nationwide.
                                          22                         The Parties, Jurisdiction, and Venue
                                          23        26.    Plaintiff McLaren is a California limited liability company with its
                                          24 principal place of business in Los Angeles County, California. All members of
                                          25 McLaren are residents of California.
                                          26        27.    Plaintiff Maxim is a California corporation with its principal place of
                                          27 business in Los Angeles, California.
                                          28
                                                                                        7
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                                           1        28.    Defendant ABS is a Florida limited liability company that is licensed by
                                           2 the State of California to solicit insurance business in this state and which in fact does
                                           3 solicit insurance business in this state. Additionally, ABS has committed tortious acts
                                           4 causing harm to consumers in California and causing harm to Plaintiffs in California.
                                           5 On information and belief, no members of ABS are residents of California.
                                           6        29.    Defendant HOO is a Florida limited liability company that is licensed by
                                           7 the State of California to solicit insurance business in this state and which in fact does
                                           8 solicit insurance business in this state. Additionally, HOO has committed tortious
                                           9 acts causing harm to consumers in California and causing harm to Plaintiffs in
                                          10 California.    On information and belief, no members of HOO are residents of
                                          11 California.
                                          12        30.    Defendant MAS is a Florida limited liability company that is registered
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                                          13 to do business in California and in fact has employees in California. Additionally,
                        SUITE 850




                                          14 MAS has committed tortious acts causing harm to consumers in California and
                                          15 causing harm to Plaintiffs in California. On information and belief, no members of
                                          16 MAS are residents of California.
                                          17        31.    ICD is subject to personal jurisdiction in California because, inter alia,
                                          18 ICD operates the websites that specifically target California consumers. By way of
                                          19 example, the website “https://california.health-exchange.com” contains a banner
                                          20 portending that the website is operated by an entity doing business under the name:
                                          21 “Affordable Healthcare of California”. Similarly, at the bottom of the webpage, there
                                          22 is a copyright notice claiming that the owner of the copyright in the webpage is
                                          23 “Affordable Healthcare of California.” If ICD were not operating under the trade
                                          24 name “Affordable HealthCare of California”, this notice on ICD’s webpage would be
                                          25 a criminal offense pursuant to 17 U.S.C. § 506(c).
                                          26        32.    Additionally, on this website, and on at least five other websites owned
                                          27 and controlled by ICD, ICD has placed an option that states “Exercise Your Rights”.
                                          28 If the consumer selects that option, he or she is redirected to another website with a
                                                                                       8
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                                           1 form to fill out. At the bottom of the form is an “acknowledgement” wherein the
                                           2 consumer is required to acknowledge the following: “By submitting this form, I
                                           3 confirm I am a resident of California and that the information I have provided is
                                           4 accurate.” (emphasis added). The following copyright notice appears at the bottom
                                           5 of this form: “© 2019 ABS Health, LLC. All Rights Reserved.”
                                           6        33.    Recently, ICD has added a “Licensing and Legal Information” link to
                                           7 some of these websites indicating that the websites are “privately owned and operated
                                           8 by My Agent Solution, LLC”.
                                           9        34.    This action arises under 15 U.S.C. § 1125(a) and Cal. Bus. & Prof. Code
                                          10 § 17200. This Court has subject matter jurisdiction over this action pursuant to 28
                                          11 U.S.C. § 1331 (federal question), and 28 U.S.C. § 1367 (supplemental jurisdiction).
                                          12 This Court also has subject matter jurisdiction over the state law claim pursuant to 28
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                                          13 U.S.C § 1332 (diversity) because Plaintiffs and ICD are citizens of different states
                        SUITE 850




                                          14 and the matter in controversy exceeds $75,000.
                                          15        35.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
                                          16 a substantial part of the events or omissions giving rise to the claims occurred in this
                                          17 District.
                                          18        Legacy, Defendants’ Unlawful Conduct, And McLaren’s Formation
                                          19        36.    In March 2019, Legacy Insurance Solutions, LLC (“Legacy”) was
                                          20 formed under the laws of the State of California. On April 16, 2019, the California
                                          21 Department of Insurance issued a license to Legacy authorizing Legacy to transact
                                          22 business as a Resident Insurance Producer, Accident and Health Agent and Life
                                          23 Agent. Legacy named Bradley Tierney (“Mr. Tierney”) as the licensed natural
                                          24 person who may exercise the power to perform the duties under that license.
                                          25        37.    From the time it obtained its Resident Insurance Producer License
                                          26 through April 2020, Legacy was engaged in the business of marketing and
                                          27 promoting both comprehensive health insurance and limited benefit plans, also
                                          28 known as limited benefit indemnity plans and hospital indemnity plans, and medical
                                                                                     9
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                                           1 discount and wellness program memberships to uninsured and underinsured
                                           2 consumers in California and throughout the United States. Like ICD, Legacy
                                           3 primarily solicited potential customers through direct telephone communications.
                                           4 Legacy primarily identified potential customers who were seeking health insurance
                                           5 based on either contact information those individuals have provided online, or by
                                           6 answering calls from individuals who are responding to information they have seen
                                           7 online or in other forms of advertising.
                                           8        38.    Everything changed for Legacy in April 2020, however, when
                                           9 Defendants engaged in unlawful and unfair business practices in an effort to prevent
                                          10 Mr. Tierney and Legacy from competing with Defendants.
                                          11        39.    First, in early April 2020, Defendants sent a letter to Mr. Tierney at
                                          12 Legacy’s business address claiming that Mr. Tierney was not authorized to sell
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                                          13 health insurance for anyone other than Defendants. At the time Defendants sent the
                        SUITE 850




                                          14 letter, Defendants knew inter alia that Mr. Tierney was not affiliated with any
                                          15 agency affiliated with Defendants, and that Mr. Tierney had terminated his
                                          16 relationship with such affiliated agency no later than February 2017 (more than
                                          17 three years earlier). At the time Defendants sent the letter to Mr. Tierney,
                                          18 Defendants were also aware that Mr. Tierney resided in California.
                                          19        40.    On information and belief, Defendants sent this letter because they
                                          20 were concerned that Mr. Tierney and Legacy were growing and becoming a threat to
                                          21 Defendants’ dominance in the marketplace for limited benefit indemnity plans.
                                          22        41.    Knowing that they had no lawful or legitimate basis to try to restrict
                                          23 Mr. Tierney, a California resident, from selling health insurance for Legacy,
                                          24 Defendants than engaged in per se unlawful conduct.
                                          25        42.    Defendants conspired with Robert Hodes, the CEO of a family of
                                          26 companies that includes an entity called Ocean Consulting Group, Inc. (“OCG”), to
                                          27 try to prevent Mr. Tierney from competing with Defendants by seeking to enforce
                                          28 an illegal “no-poach” agreement that OCG had entered into with the National
                                                                                    10
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                                           1 Congress of Employers, Inc. (“NCE”).
                                           2        43.     At the time, most of the benefit plans that Legacy and Mr. Tierney sold
                                           3 included an NCE membership and a group limited benefit indemnity plan that was
                                           4 only available to members of NCE. Most of the competing benefit plans that
                                           5 Defendants sold included a membership in a different association—Unified Caring
                                           6 Association, Inc. and a group limited benefit indemnity plan provided by a different
                                           7 carrier than the NCE group plans sold by Legacy and Mr. Tierney.
                                           8        44.     For several weeks, Defendants and Mr. Hodes pressured NCE to
                                           9 terminate its relationship with Mr. Tierney based on Defendants’ false allegations
                                          10 that Mr. Tierney was restricted from selling for anyone but Defendants’ companies,
                                          11 and Mr. Hodes’ threats to sue NCE if NCE failed to enforce the illegal “no poach”
                                          12 agreement between OCG and NCE.
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                                          13        45.     At the same time that Defendants and Mr. Hodes pressured NCE to
                        SUITE 850




                                          14 terminate its relationship with Mr. Tierney, in March, 2020, the global pandemic
                                          15 started to have a direct impact on a variety of businesses. Fortunately, Legacy was
                                          16 in a position to continue its efforts to sell insurance, and to try to keep all of its
                                          17 employees.
                                          18        46.     However, Legacy’s plans to keep its employees and contractors
                                          19 employed went awry on or about April 17, 2020, when NCE yielded to Defendants’
                                          20 and Mr. Hodes’ pressure and terminated its relationship with Mr. Tierney.
                                          21        47.     Following April 17, 2020, Mr. Tierney and Legacy were limited to
                                          22 receiving commissions from sales to customers occurring prior to termination. At
                                          23 that time, Legacy needed to seek approval to sell insurance products from other
                                          24 insurance companies. As such, Legacy had no way to keep its employees and
                                          25 contractors working.
                                          26        48.     Faced with the prospect of being laid off, one of Legacy’s licensed
                                          27 agents, Benjamin Frutchey, formed McLaren. Around the same time, Frutchey
                                          28 hired Legacy’s other employees and independent contractors.
                                                                                    11
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                                           1        49.    On July 2, 2020, McLaren obtained its resident insurance producer
                                           2 license from the California Department of Insurance, and immediately continued
                                           3 engaging in the exact same business as Legacy, and continues to do so to date.
                                           4                     Defendants’ Scheme to Deceive Consumers
                                           5        50.    Defendants, through a network of call centers and insurance agents that
                                           6 they direct and control, sell limited benefit plans, also known as limited benefit
                                           7 indemnity plans and hospital indemnity plans; and medical discount and wellness
                                           8 program memberships to consumers in California and throughout the United States.
                                           9        51.    Defendants obtain information about consumers that Defendants prey
                                          10 on to sell their limited benefit plans and discount memberships through, inter alia, a
                                          11 network of lead generation websites operated by Defendants that contain false and
                                          12 misleading information in order to lure unsuspecting customers to do business with
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                                          13 Defendants.
                        SUITE 850




                                          14        52.    These lead generation websites typically claim that the website will
                                          15 provide quotes for comprehensive health insurance, including insurance available
                                          16 through the marketplaces established pursuant to the Affordable Care Act (“ACA”).
                                          17 In many cases, the sites refer to the ACA and Medicare and use terms associated
                                          18 with the ACA, such as “Obamacare,” the “Obamacare Marketplace,” and metal tier
                                          19 plans such as “Bronze Plans,” “Silver Plans”, and “Gold Plans.” The sites also
                                          20 contain counterfeit marks in the form of branded logos of well-known insurance
                                          21 carriers, such as Blue Cross Blue Shield, Humana, Coventry, Molina, TUFTS,
                                          22 United Healthcare, Aetna, Cigna, AmeriHealth, and Kaiser Permanente. This was a
                                          23 slick, well-oiled marketing machine that deliberately groomed and took advantage
                                          24 of people who were vulnerable.
                                          25        53.    An example of just one of the many false and deceptive lead generation
                                          26 websites operated by Defendants is the website “health-exchange.com”. To begin
                                          27 with, the name of the URL itself is deceptive as consumers looking for health
                                          28 insurance associate the term “Health Exchange” with the “Health Insurance
                                                                                     12
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                                           1 Marketplace®” which is generally run by, or affiliated with the federal or state
                                           2 governments.
                                           3       54.    For example, in California, the official Health Exchange Marketplace is
                                           4 CoveredCa.com and is sponsored by the California Health Benefit Exchange d/b/a
                                           5 Covered California and the California Department of Health Care Services.
                                           6       55.     If a resident of California accesses “health-exchange.com”, they are
                                           7 presented with a webpage substantially similar to the following:
                                           8              400         Affordable Healthcare
                                                                            of California
                                                                                                                                      Lowest Health Rates updated: 6/1/2021




                                           9                         Compare Lowest 2021 Health Plans in CALIFORNIA

                                          10                                          Get Started Now by Entering your ZIP CODE

                                          11
                                                                                                  Fast, Free, No-Obligation Quotes



                                                                                 Enter L.                                   COMPARE PLANS                  >
                                          12
                 401 WILSHIRE BOULEVARD

                 SANTA MONICA, CA 90401
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                                          13                                           We will find you the best Health Coverageat the lowest price.
                        SUITE 850




                                                                       We've helped millions of Americansjust Ilke yousave big on their health Insurance plan.


                                          14                    Humana inm•-• ilnona 071.474                         aetna war              tog.,          y   mws"'"'""


                                          15                                 2   We've Located 50+ Health Plans and Discounts Near You in CALIFORNIA



                                                            •
                                          16                     IS osamacare Flans       0    4 mho Hans               0   5 eso Plans                •   LI Biome vans



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                                                                 -Usurer Plans            •    8sow wens               •    S   sheetTeem              ID 7 mesimee wane
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                                          19
                                          20                          Figure A (http://california.health-exchange.com)

                                          21       56.    Defendants falsely represent on this webpage that the webpage is

                                          22 operated by a non-existent entity called “Affordable Healthcare of California”. The
                                          23 webpage indicates that the consumer can use this service to “Compare Lowest 2021
                                          24 Health Plans in CALIFORNIA”, and that Defendants “will find” the unsuspecting
                                          25 consumer “the best Health Coverage at the lowest price,” and that Defendants have
                                          26 “helped millions of American just like you save big on their health insurance plan.”
                                          27
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                                           1       57.        Immediately below this promise, Defendants include ten (10) counterfeit
                                           2 marks for well-known health insurance provides:
                                           3
                                           4                              We will find you the best Health Coverage at the lowest price.

                                           5                We've helped millions of Americans just like you save big on their health insurance plan.

                                                   Humana                         OPY.
                                                                                     F.T.,.             aetna aT csmsd          cigna            A mu
                                           6
                                                                                                                                                        Tillman-




                                           7
                                                                 2   We've Located 50+ Health Plans and Discounts Near You in CALIFORNIA

                                           8
                                           9                          Figure B (http://california.health-exchange.com)
                                          10 The sole purpose for including these counterfeit marks is to deceive consumers into
                                          11 believing that Defendants are affiliated with these well-known insurance carriers and
                                          12 that Defendants will help the consumer receive discounted insurance from these
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                 SANTA MONICA, CA 90401




                                          13 carriers.
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                        SUITE 850




                                          14       58.        Pursuant to 18 U.S.C. § 230, knowingly trafficking in services using a
                                          15 counterfeit mark in connection with those services constitutes a criminal offense.
                                          16 Pursuant to 18 U.S.C. § 1961, such indictable counterfeiting activity constitutes
                                          17 “racketeering activity.” Moreover, pursuant to 18 U.S.C. § 1962 it is unlawful for
                                          18 any person, such as Defendants here, to engage in a pattern of such racketeering
                                          19 activity.
                                          20
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                                          1        59.                   Just below the counterfeit marks, Defendants claim to have information
                                           2 updated as of the date the unwary consumer accessed Defendants’ website, and then,
                                           3 regardless of the day, time, or region, purports to claim that Defendants have “Located
                                           4 50+ Health Plans and Discounts Near You”, including “17 Obamacare Plans”, “4
                                           5 HMO Plans”, “5 PPO Plans, “11 Bronze Plans,” “13 Silver Plans”, “8 Gold Plans”,
                                           6 “7 Medicare Plans,” and “5 Short Term Plans”:
                                           7
                                                                                       We will find you the best Health Coverage at the lowest price.
                                           8                             We've helped millions of Americans just like you save big on their health insurance plan.

                                           9             Humana                                      111Yr.               aetna                                   Cigna                 Amu,      ruommint.




                                          10
                                                                                  We've Located 50+ Health Plans and Discounts Near You in CALIFORNIA
                                          11
                                          12              17 Obamacare Plans               0         4 HMO Plans               O        5 PPO Plans                       •     11 Bronze Plans
                 401 WILSHIRE BOULEVARD

                 SANTA MONICA, CA 90401




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                                          18
                                          19 Contrary to the Defendants’ misrepresentation to consumers, however, Defendants do
                                          20 not search any database or any other source to “locate” these purported “50+ Health
                                          21 Plans and Discounts.” Rather, these are just arbitrary numbers that are hard-coded
                                          22 into the HTML file that Defendants present to the user, and these numbers do not
                                          23 change regardless of the date, time, or location of the consumer when the consumer
                                          24 accesses the site. However, Defendants’ deceptive practices do not end with false
                                          25 statements regarding the number of available plans. The deception continues when a
                                          26 user clicks on any of the “Get Pricing Now” links. Instead of being redirected to a
                                          27 site that will provide the user with pricing for any of the categories of health plans
                                          28 listed on the website, the user is not redirected to a site with information regarding
                                                                                                                          15
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                                           1 that type of plan. Instead, all of the “Get Pricing Now” links unknowingly redirected
                                           2 the user to one page that requests the user’s information, which Defendants then pass
                                           3 along to call centers regardless of whether the call center sells the type of health plan
                                           4 the website falsely claimed was available.
                                           5        60.    By way of example, the above images are from a webpage accessed as
                                           6 would be seen by a California consumer on June 7, 2021. The image below is the
                                           7 information that was shown to an unwary consumer from Virginia on August 5,
                                           8 2020. Just as with the California consumer in June 2021, Defendants represented to
                                           9 this Virginia consumer nearly a year earlier that it had also located the exact same
                                          10 number of health plans and discounts near that consumer in Virginia, and with the
                                          11 exact same breakdown of “17 Obamacare Plans”, “4 HMO Plans”, “5 PPO Plans,
                                          12 “11 Bronze Plans,” “13 Silver Plans”, “8 Gold Plans”, “7 Medicare Plans,” and “5
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                                          13 Short Term Plans.” In fact, the only difference between the information presented
                        SUITE 850




                                          14 to the Virginia consumer in August 2020 and the California consumer in June 2021
                                          15 is that Defendants used a different fake name when presenting the false and
                                          16 misleading information to the Virginia consumer (compare “Affordable Healthcare
                                          17 of Virginia” with “Affordable Healthcare of California”), and the date in which the
                                          18 date next to “Lowest Health Rates Updated” was “8/5/2020” when the site was
                                          19 accessed in August 2020 versus “6/7/2021” when accessed nearly a year later from
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                                                                         FIRST AMENDED COMPLAINT
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                                           1 California.
                                           2       61.               The consumer, believing that Defendants will help him or her find the
                                           3 best health insurance available from well-known entities such as Blue Cross and
                                           4 Blue Shield at the lowest price available, enters his or her zip code and asks to
                                           5 “Compare Plans”. Defendants’ deceptive practices then continue as on the next
                                           6                              Affordable Healthcare
                                                       117                              of California
                                                                                                                                                                        Lowest Health Rates Updated: 6/7/2021

                                           7
                                                                              Get Your Instant Health Plan Quotes in SANTA MONICA,CA
                                           8
                                                             Humana                                                                                aetna                         7cigna
                                           9
                                                       Step 1 /2 I Please Prov5de Some Information About Yourself
                                          10                                                                                                                                       Ohamacore Discounts

                                                        Date of Birth:                                                                                                          4 Officio! Exchange Rates
                                          11       *      Month                                  Day                       -   I        Year                                    4 Individual & Family Plans


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                        SUITE 850




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                                          24 webpage, Defendants continue to use the counterfeit marks of the well-known health
                                          25 insurance companies, and represents to the consumer that by providing personal
                                          26 information, Defendants will provide “instant health plan quotes” in the consumer’s
                                          27 city. Worse yet, Defendants represent that they will help the consumer locate
                                          28 “Obamacare discounts,” “Official Exchange Rates,” and “Individual & Family
                                                                                   17
                                                                                                      FIRST AMENDED COMPLAINT
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                                           1 Plans.”
                                           2       62.    If the consumer enters the requested personal information, however,
                                           3 Defendants do not provide “instant health plan quotes” as promised. Rather,
                                           4 Defendants present the consumer with yet another web page that again includes the
                                           5 counterfeit marks for the well-known health insurers. This time, Defendants claim
                                           6 that they have found “found plans and discounts” in the unwary consumer’s city,
                                           7 and that they are “processing quotes” and matching the consumer with, inter alia,
                                           8 “Obamacare Subsidies,” “Low Deductibles,” “Low Copays”, “HMO & PPO Plans”,
                                           9 and “Bronze, Silver, Gold Plans.” In order to obtain these “quotes” however, the
                                          10 user is required to enter contact information, including a phone number and email
                                          11 address, and then select “Compare Plans”:
                                          12
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                                          13
                        SUITE 850




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                                                                        FIRST AMENDED COMPLAINT
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                                           1        00             Affordable Healthcare
                                                                                                                                                      Lowest Health Rates Updated: 6/7/21
                                                                          of California

                                           2
                                                              Let's connect you with instant health insurance quotes for CALIFORNIA
                                           3
                                                         Humana        74..v.."••     iNuen                   griwiatbr        aetna                                                  ik   Pisvarmwegr..

                                           4
                                                    Step 2 / 2 I Almost done! Please Provide Your Contact Information.                                             We've found plans and discounts in:
                                                                                                                                                                   Santa Monica.CA
                                           5         Address:                                                 City:
                                                                                                                                                              Processing Quotes For:
                                                                                                               Santa Monica
                                           6                                                                                                                  V    Zip: 90401

                                                     State:                         Zip:                                                                      V    Age:.

                                           7             CA                          90401
                                                                                                                                                              V
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                                                                                                                                                                   Height:
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                                           8         First Name:                               Last Name:



                                           9         Phone:(tVe rarnentr4TPT99091              Email:a NO SPAM
                                                                                                                                                                       Matching You With:
                                                                                                                                                                  0 Obamacare Subsidies
                                                                                                                                                                    r.
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                                                                           COMPARE PLANS >>
                                          12
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                 SANTA MONICA, CA 90401




                                                    63.            If the user selects “Compare Plans,” Defendants do not provide the
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                                          13
                        SUITE 850




                                          14 consumer with any quotes nor any other information to “compare plans.” Rather
                                          15 Defendants simply inform the consumer that their “customized Health Insurance
                                          16 quote is ready,” that Defendants have “located low rates and discounts for this
                                          17 customer profile,” that a “dedicated, friendly, licensed insurance agent will contact
                                          18 you shortly to review your rates from top carriers and find the best policy for your
                                          19 needs and budget,” and that Defendants “look forward to helping you save BIG on
                                          20 your Health Insurance policy”
                                          21                          Affordable Healthcare of California


                                          22                                               Congratulations - your information was submitted successfully!


                                          23                                                        dour customized Health Insurance quote Is ready.We have located low rates and
                                                                                                    discounts for this customer profile:

                                          24                                                                          Name



                                          25                                                                          Oty: Santa Monica
                                                                                                                      State: CA
                                                                                                                      Product Individual

                                          26                                                        What's Next?

                                                                                                    Your dedicated,friendly, licensed insurance agent will contact you shortly to
                                                                                                    review your rates from top carriers and find the best policy for your needs and
                                          27                                                        budget.
                                                                                                    Thanks so much for your Inquiry!We look forward to helping you save MG on
                                                                                                    yourHealth Insurance policy,
                                          28
                                                                                                                                     19
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                                           1        64.    In most cases, shortly after entering this information, the consumer
                                           2 receives a call inquiring if the consumer is still interested in health insurance. This
                                           3 call, however, is not from a licensed insurance agent, but rather a non-licensed agent
                                           4 who first inquires if the consumer is interested in purchasing insurance, and a few
                                           5 other questions such as the person’s age, and questions about whether the consumer
                                           6 has any pre-existing medical conditions, or is pregnant.
                                           7        65.    At some point, the consumer is transferred to a person purporting to be
                                           8 a licensed insurance agent. This agent, however, does not provide the consumer
                                           9 with any quotes for “Obamacare plans”, “HMO and PPO Plans”, or any other type
                                          10 of comprehensive health insurance that would include deductibles and copays. Nor
                                          11 does the agent provide the consumer with any quotes from any of the ten health
                                          12 insurance companies that consumers associate with the counterfeit marks on
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                                          13 Defendants’ websites.
                        SUITE 850




                                          14        66.    Rather the agent, who in almost all cases works for a call center which
                                          15 is contractually obligated to sell insurance exclusively on behalf of Defendants and
                                          16 which Defendants only allow to sell limited benefit plans, also known as limited
                                          17 benefit indemnity plans and hospital indemnity plans, and medical discount and
                                          18 wellness program memberships. At best, the consumers who ultimately purchase
                                          19 these plans have been deceived by Defendants’ false association with well-known
                                          20 health care insurers and Defendants’ deceptive bait-and-switch tactics. In many
                                          21 cases, however, Defendants tactics result in unwary consumers believing they are
                                          22 actually purchasing comprehensive health insurance from “top carriers.” It is only
                                          23 when these defenseless consumers need the insurance most, such as after a serious
                                          24 illness or accident, that these consumers become aware of Defendants scheme.
                                          25        67.    In addition to the health-exchange.com website, Defendants operate at
                                          26 least ten other similar websites:
                                          27        http://www.comparehealthplan.online/
                                          28        https://directhealthrates.com/
                                                                                        20
                                                                         FIRST AMENDED COMPLAINT
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                                           1         https://obamacare-plans.org/
                                           2         https://www.insurance-save.com
                                           3         http://bluecross.insurance-save.com [Defendants do not offer this product]
                                           4         https://aetna.insurance-save.com [Defendants do not offer this product]
                                           5         https://cigna.insurance-save.com [Defendants do not offer this product]
                                           6         https://humana.insurance-save.com [Defendants do not offer this product]
                                           7         https://bluecross.insurancehealthcenter.com/
                                           8         https://healthcare-innovators.com
                                           9         https://www.health-compare.com/
                                          10        68.     On information and belief, Defendants operate numerous other
                                          11 similarly deceptive websites and/or contracts with third-parties to operate deceptive
                                          12 websites.
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                                          13        69.     Defendants operated these deceptive websites during all or a portion of
                        SUITE 850




                                          14 the time that Plaintiffs’ customers and/or potential customers considered purchasing
                                          15 and renewing insurance policies from Plaintiffs.
                                          16          Defendants Improperly and Deceptively Designate Arnold Cohen as the
                                                     Agent in Charge of ICD to Allow Non-Licensed Individuals to Unlawfully
                                          17                            Conduct the Business of Insurance
                                          18
                                                    70.     Section 626.0428(f), Florida Statutes, requires that “[a]n insurance
                                          19
                                               agency location may not conduct the business of insurance unless an agent in charge
                                          20
                                               is designated by, and providing services to, the agency at all times.”
                                          21
                                                    71.     For many years, ICD has improperly and deceptively designated
                                          22
                                               Arnold Cohen as its agent in charge, even though Arnold Cohen admittedly provides
                                          23
                                               no services to the agencies. In fact, when Arnold Cohen was asked under oath what
                                          24
                                               services he provides to ICD, Arnold Cohen testified:
                                          25
                                                    “Figurehead, [like the] Queen of England.”
                                          26
                                               When Arnold Cohen was asked if there was “anything you do other than act as a
                                          27
                                               figurehead for Insurance Care Direct”, Arnold Cohen testified:
                                          28
                                                                                         21
                                                                          FIRST AMENDED COMPLAINT
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                                           1        “I sign checks or whatever else they give me to sign. . . . Most of the
                                                    time I don’t read it. I Don’t care.”
                                           2
                                           3 Arnold Cohen even testified that while ICD sells insurance, he had no knowledge of
                                           4 what type of health insurance ICD sells.
                                           5        72.    When Arnold Cohen was asked under oath whether he was the Agent in
                                           6 Charge for Insurance Care Direct, he testified that he was “not sure.” Arnold Cohen
                                           7 also testified that he did not remember if he had ever given anyone authorization to
                                           8 list him as the agent in charge for ICD.
                                           9        73.    As such, it is evident that Arnold Cohen, despite being listed as ICD’s
                                          10 Agent in Charge, is not, and has not for many years, been providing any services to
                                          11 ICD. Rather, Arnold Cohen’s son, Seth Cohen, is using his father’s name to escape
                                          12 liability should insurance regulators ever investigate ICD’s deceptive practices.
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                                          13   Defendants Hire Former Governors and Insurance Commissioners to Escape
                                                         Scrutiny from the FTC and State Regulatory Agencies
                        SUITE 850




                                          14
                                          15        74.    Defendants’ scheme is nearly identical to that run by Simple Health and
                                          16 Dorfman up until the FTC took action to shutdown Dorfman’s and Simple Health’s
                                          17 operations in 2018.
                                          18        75.    By way of example, the FTC noted that one of the false and deceptive
                                          19 websites used by Dorfman and Simple Health was a website accessible via the url
                                          20 https://obamacare-plans.com. According to the FTC, the “Obamacare-plans.com”
                                          21 website was false and deceptive because the website purported to be associated with
                                          22 health insurers such as Blue Cross Blue Shield Association and used counterfeit
                                          23 marks for those health insurers on the website. The website was also false and
                                          24 deceptive because the website used terms associated with the ACA such as
                                          25 “Obamacare.” Just as with Defendants’ websites, users who entered personal
                                          26 information on the Obamacare-plans.com website were contacted by call centers
                                          27 that only sold limited benefit plans.
                                          28        76.    Defendants’ website, https://obamacare-plans.org, is nearly identical to
                                                                                        22
                                                                         FIRST AMENDED COMPLAINT
                                                                       CASE NO. 2:21-CV-06066-MWF(AFM)
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                                           1 the Obamacare-plans.com website identified by the FTC. Moreover, the
                                           2 Obamacare-plans.org website is used by Defendants to lure defenseless customers
                                           3 into purchasing limited benefit plans from lesser-known carriers when the
                                           4 consumers were looking for comprehensive health insurance from well-known
                                           5 carriers. Despite the similarities between Defendants’ websites and those targeted
                                           6 by the FTC, Defendants have been able to continue to run their false and deceptive
                                           7 websites without interference from the FTC or any of the state regulatory agencies.
                                           8        77.      How were Defendants able to do this? The answer is simple—money
                                           9 and politics.
                                          10        78.      Defendants have received hundreds of millions of dollars over the years
                                          11 by deceiving defenseless consumers.
                                          12        79.      Defendants have used these exorbitant profits to effectively bribe
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                                          13 former politicians to act as a front for Defendants and conceal the true nature of
                        SUITE 850




                                          14 Defendants’ marketing scheme.
                                          15        80.      Specifically, Defendants have hired two former governors, one of
                                          16 whom also served as a U.S. Senator, and a former insurance commissioner.
                                          17        81.      Shortly after the FTC filed its complaint against Simple Health, ICD
                                          18 hired former United States Senator and former Governor of Nebraska E. Benjamin
                                          19 Nelson to act as its Chief Executive Officer.
                                          20        82.      Similarly, at around the same time, ICD hired John Doak, former
                                          21 Oklahoma Insurance Commissioner, as Executive Vice President of Regulatory
                                          22 Affairs, and shortly thereafter promoted him to Chief Operating Officer.
                                          23        83.      A short time later, ICD announced that Frank Keating, a former two-term
                                          24 govern of Oklahoma had joined ICD’s Board of Advisors.
                                          25        84.      All three of these former politicians were either aware of, or should have
                                          26 been aware of ICD’s deceptive conduct. It is inconceivable that these individuals did
                                          27 not know that ICD had improperly and dishonestly designated Arnold Cohen as their
                                          28 agent in charge even though these former politicians had to know that Arnold Cohen
                                                                                    23
                                                                           FIRST AMENDED COMPLAINT
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                                           1 was not performing any services, let alone those required an agent in charge, on behalf
                                           2 of ICD.
                                           3        85.     Nevertheless, these former politicians willingly accepted hundreds of
                                           4 thousands of dollars per year in exchange for helping ICD conceal the true extent of
                                           5 its deceptive business practices. Either these three individuals are all well aware of
                                           6 ICD’s scheme and have condoned this unlawful and deceptive conduct, or they have
                                           7 been willfully blind to this conduct in return for large paychecks.
                                           8        86.     Regardless, it seems that the FTC and state regulatory agencies are afraid
                                           9 to investigate ICD given its political connections. As a result, consumers in California
                                          10 and across the United States have been harmed by Defendants’ unscrupulous business
                                          11 practices, and new consumers will continue to be harmed in the future if this Court
                                          12 does not enjoin Defendants from engaging in false advertising and unlawful, unfair,
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                                          13 and deceptive business practices.
                        SUITE 850




                                          14        87.     Plaintiffs, as competitors to Defendants, have also lost customers and
                                          15 potential customers as a result of Defendants’ false and misleading advertising and
                                          16 deceptive bait-and-switch tactics.
                                          17                              FIRST CAUSE OF ACTION
                                          18        (False Advertising Under the Lanham Act § 43(a), 15 U.S.C. 1125(a))
                                          19        88.     Plaintiffs hereby restate the allegations set forth in Paragraphs 1 through
                                          20 87, as if fully set forth herein.
                                          21        89.     Defendants have distributed in this district, advertisements that contain
                                          22 false or misleading statements of fact regarding Defendants’ services. In connection
                                          23 with their services, Defendants have also used counterfeit marks of well-known health
                                          24 insurance providers which are likely to cause confusion, or to cause mistake, or to
                                          25 deceive as to the affiliation, connection, or association of these well-known insurers
                                          26 with Defendants.
                                          27        90.     Defendants’ false and misleading advertising statements and false
                                          28 association injure both consumers and Plaintiffs.
                                                                                     24
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                                           1        91.     Defendants have caused, and will continue to cause, immediate and
                                           2 irreparable injury to Plaintiffs, including injury to its business, reputation, and
                                           3 goodwill, for which there is no adequate remedy at law. As such, Plaintiffs are entitled
                                           4 to an injunction restraining Defendants, their agents, employees, representatives, and
                                           5 all persons acting in concert with them from engaging in further acts of false
                                           6 advertising, and ordering removal of all Defendants’ false advertisements.
                                           7        92.     Plaintiffs are also entitled to recover from Defendants the damages
                                           8 sustained by Plaintiffs as a result of Defendants’ false advertising.
                                           9        93.     Plaintiffs are further entitled to recover from Defendants the gains,
                                          10 profits, and advantages that they have obtained as a result of their false advertising,
                                          11 as well as the costs of this action.
                                          12        94.     Moreover, considering the egregious nature of Defendants’ conduct,
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                                          13 Plaintiffs maintains that this is an exceptional case in which the Court should award
                        SUITE 850




                                          14 Plaintiffs their reasonable attorney’s fees.
                                          15              SECOND CAUSE OF ACTION – UNFAIR COMPETITION
                                          16                          (Bus. & Prof. Code §§ 17200 et seq.)
                                          17        95.     Plaintiffs hereby restate the allegations set forth in Paragraphs 1 through
                                          18 87 as if fully set forth herein.
                                          19        96.     This cause of action for unfair competition is brought to find and declare
                                          20 that Defendants’ unfair, deceptive , untrue, and misleading advertising, including but
                                          21 not limited to Defendants use of counterfeit marks and bait-and-switch tactics
                                          22 constitute unfair competition in violation of, inter alia, Business and Professions
                                          23 Code Section 17200, California’s Unfair Competition Law.
                                          24        97.     Plaintiffs have lost money or property as a result of the unfair
                                          25 competition. Plaintiffs have had to expend time, energy and money, including but not
                                          26 limited to out-of-pocket payment of costs and expenses, towards investigating and
                                          27 defending their rights in response to Defendants’ unfair competition. Plaintiffs have
                                          28
                                                                                         25
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                                           1 also lost customers and prospective customers as a result of Defendants’ unfair
                                           2 competition.
                                           3       98.      Plaintiffs have no adequate remedy at law. Accordingly, Defendants’
                                           4 pattern of business activity in which it deceives unwary consumers by falsely
                                           5 advertising that Defendants are associated with well-known health insurance
                                           6 providers, that Defendants will help consumers find comprehensive medical
                                           7 insurance at a discounted price, and then either misrepresenting the true nature of the
                                           8 limited benefit plans that Defendants actually offer, or through bait-and-switch tactics
                                           9 selling limited benefit plans to consumers that were seeking comprehensive health
                                          10 insurance, should be preliminarily and permanently enjoined.
                                          11                                   PRAYER FOR RELIEF
                                          12        WHEREFORE, Plaintiffs request a judicial judgment against Defendants as
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                                          13 follows:
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                                          14        A.      A preliminary and permanent injunction against Defendants, including
                                          15                their officers, agents, servants, employees and attorneys, and those in
                                          16                active participation with them, restraining and enjoining them from
                                          17                engaging in false or misleading advertising with respect to insurance
                                          18                products and/or violating Lanham Act§ 43(a), which relief includes but
                                          19                is not limited to removal of all false or misleading advertisements and
                                          20                corrective advertising to remedy the effects of Defendants’ false
                                          21                advertising.
                                          22        B.      That Defendants be adjudged to have violated 15 U .S.C. § 1125(a) by
                                          23                unfairly competing against Plaintiffs by using false, deceptive or
                                          24                misleading statements of fact that misrepresent their association with
                                          25                third-party insurance companies and that misrepresent the nature,
                                          26                quality, and characteristics of the plans offered by Defendants.
                                          27        C.      That Defendants be adjudged to have unlawfully and unfairly competed
                                          28                against Plaintiffs under the laws of the State of California, Cal. Bus. &
                                                                                         26
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                                           1               Prof. Code § 17200.
                                           2        D.     A judgment awarding Plaintiffs damages in the amount that it is found
                                           3               they have sustained as a result of Defendants’ false advertising.
                                           4        E.     A judgment awarding to Plaintiffs the amount of profits obtained by
                                           5               Defendants as a consequence of Defendants’ false advertising.
                                           6        F.     That such damages and profits be trebled and awarded to Plaintiffs as a
                                           7               result of Defendants’ willful, intentional and deliberate violation of 15
                                           8               U.S.C. § 1125(a).
                                           9        G.     A judgment awarding Plaintiffs their attorney’s fees as permitted by law.
                                          10        H.     A judgment awarding Plaintiffs their costs and disbursements as
                                          11               permitted by law.
                                          12        I.     A judgment awarding Plaintiffs such other and further relief as this Court
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                                          13               deems just and proper.
                        SUITE 850




                                          14
                                               Dated:    December 13, 2021            COZEN O'CONNOR
                                          15
                                          16                                          By: ___/s/ Frank Gooch III
                                                                                          Frank Gooch III
                                          17                                              Attorneys for Plaintiffs
                                          18                                              McLaren Insurance Solutions LLC and
                                                                                          Maxim Health, Inc.
                                          19
                                          20                            DEMAND FOR JURY TRIAL
                                          21        Plaintiffs hereby request a jury trial on all issues to the extent permitted by
                                          22 law.
                                          23 Dated:      December 13, 2021            COZEN O'CONNOR
                                          24
                                                                                      By: ___/s/ Frank Gooch III
                                          25                                              Frank Gooch III
                                          26                                              Attorneys for Plaintiffs
                                                                                          McLaren Insurance Solutions LLC and
                                          27                                              Maxim Health, Inc.
                                          28
                                                                                        27
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